 

BN/Gase 1: 04- -C\/- -01248- .]DT- STA Document 8 Filed 06/29/05 Page 1 of

 

 

§ /\ IN THE UNITED STATES DISTRICT coUR'.r, FOR
(J;\¢§\§ wESTERN DISTRICT oF TENNESSEE FE.;D by
EASTERN DIVISION " """`*‘“~"~“‘?~C-
05JUst¢ Pig;z:gg
)
RUDOLPH PowERs, ;¢
. . , cAsE No 04-1248-171; .;» 11 L";.; mm
VS P]_alntlff S APPEAL NO: \A:.Jl;r§h!lr US DIST C.§O

 

UI" VN JACKSON

CORRECTIONS OFFICER SPRINGER,
ET AL.

\_/VVV\-»'\-{\_J

DEFANDANT'S

 

NOTICE OF APPEALS

 

Come now your Petitioner's Rudolph Powers, by and thourgh himself
Pro' se wlth his Notice of Appeel from the District Court in the Case

04: lQAB“T/An That was dismissed on June 7, 2005.

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.Ihau\y?ut P_z-etitioner' s is not Requesting to filed under the forms
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of Paurers

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Petitioner s is requesting that he be allows to CONSOLADATION

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the IHstrict Court Fees and the Notice of Appeals Fees, Thst a New
Order be Issues To the CUSTADIAN Per Petitioner's Request to mrs;
Janice Rice, of the Northwest Correction Trust Funds Offioe To remove
the SUM OF THIRTY ($ 30.00) From Plaintiff's Rudolph Powers Trust Funds
Account each Monthly Untill The Full Payment of Both Fees are Paid in

Full. SUB

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DONE THIS /HO`HA DAY OF j\)n¢f 2005 .

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oF :§ne, 2005

NOTICE POBLICE

   

    

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RU'DOLP]T POWERS # 95360

 

UNIED` sATTEs ITRICT oURT - WETRNDISTCRIT oF ENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:04-CV-01248 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

